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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

CRYSTALLEX INTERNATIONAL CORP.,
Plaintiff,
v. Misc. No. 17-151-LPS
BOLIVARIAN REPUBLIC OF VENEZUELA, :

Defendant.

MEMORANDUM ORDER

At Wilmington this 17th day of July 2023, having reviewed the materials submitted by
the Sale Process Parties! (D.I. 561, 562, 582, 584) and the Special Master (D.I. 583) relating to
objections to the Special Master’s Supplemental Report and Recommendation (hereinafter,
“Recommendation”) (D.I. 553), IT IS HEREBY ORDERED that the Venezuela Parties’
objections to the Recommendation ae OVERRULED.

1. On April 28, 2023, the Special Master recommended “preparations for the launch
of the Marketing Process begin without any further delay beyond the consideration by the Court
of this Supplemental Report and any Launch Date Objections.” (D.I. 553 ] 7) The Special
Master further recommended that the Preparation Launch Date be set as soon as practicable after
the Court resolves any objections to his Recommendation, a position he reiterated later in

responding to the Venezuela Parties’ objections. (/d.; see also D.I. 583 J 12) After considering

' All capitalized terms have the same meaning given to them in the Sale Procedures Order. (See
D.I. 481)
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two rounds of briefing and hearing argument on the objections (e.g., D.I. 640 at 13-14), the Court
ACCEPTS the Recommendation, as modified by this Order, and will proceed accordingly.

2. The Venezuela Parties first object to the Recommendation because, in their view,
OFAC’s recently announced non-enforcement policy does not provide potential bidders and
others sufficient certainty to ensure a value-maximizing sale transaction. (See D.I. 561 at 4-11)
Specifically, the Venezuela Parties express concern as to OFAC’s failure to issue a license
affirmatively authorizing “holding or participating in a contingent auction,” emphasizing that
OFAC, instead, provided potential bidders “a mere non-enforcement statement.” (Jd. at 7) The
Venezuela Parties point out that OFAC’s position can change at any time. (/d. at 8-9) They also
fault the Special Master for not speaking to potential bidders or service providers about their
willingness to participate in the sale process (id. at 10-11) despite the Sale Procedures Order
(“SPO”) (D.I. 481 § 4) authorizing him to “mak[e] market inquiries into potential bidders with
respect to the impact of OFAC’s position (or their lack thereof) on their willingness to participate
in a sale process that is conditioned on OFAC’s final approval of any sale transaction.”

The Venezuela Parties’ objection is utterly unpersuasive, particularly in view of the

lengthy history of this case.

* The Court agrees with the Special Master that neither the SPO nor anything else compelled him
to make such market inquiries (see D.I. 583 4 11) and he had good reason not to do so, given the
government’s request that he not disclose its position before filing his Recommendation with the
Court. (See D.I. 553 ¢ 14 (“[A]s a condition to receiving any guidance, the U.S. Government
requested that, prior to the issuance of this Report, I not disclose the contents of the letter to
anyone, including the Sale Process Parties, other than to the Court, if necessary.”); id. J 15
(“Consistent with the U.S. Government’s request, I did not distribute the letter to any parties,
including the Court, and did not consult the Sale Process Parties, Potential Bidders, or other
stakeholders, such as the PDVSA 2020 Bondholders, in formulating my recommendation
contained in this Supplemental Report, as doing so would be impossible without also discussing
the April 7 DOJ Letter or the positions of the U.S. Government described in that letter.”)
(emphasis added))
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In July 2020, the Court received a Statement of Interest from the United States. (See D.I.
212) At that time, the United States took the view that “this Court should not authorize
Crystallex to take further steps toward a forced sale of PDVH in light of the risk that such steps
would harm U.S. foreign policy and national security interests in Venezuela.” (/d. at 12) The
United States urged the Court to “forego further action until after OFAC has issued a decision on
Crystallex’s pending license application.” (Jd. at 13) More than a year later, in September 2021,
OFAC denied Crystallex’s application (see D.I. 346 Ex. 1) — which sought a license “for not only
the execution of a final sale, but also the initiation and undertaking of the sale process.”
Crystallex Int'l Corp. v. Bolivarian Republic of Venez., 2022 WL 611586, at *14 (D. Del. Mar.
2, 2022); see also D.I. 212 Ex. 2 at 1 (application asking OFAC “to provide Crystallex a Specific
License to allow the federal court in the District of Delaware . . . to pursue all activities
necessary and ordinarily incident to organizing and conducting a judicial sale of the shares [of
PDVH owned by PDVSA] as provided for by U.S. federal and Delaware law, regulations, and
precedents”).

During the ensuing year of litigation over the SPO, much uncertainty surrounded whether
a value-maximizing sale transaction could be achieved without guidance from OFAC. See, e.g.,
Crystallex, 2022 WL 611586, at *6-8 (discussing Sale Process Parties’ positions on lack of
OFAC guidance regarding entry of SPO and possible sale); see also id. at *8 (“ConocoPhillips
supports the Special Master’s thoughtful compromise, which would defer launch of the sale
process until OFAC issues additional guidance (if it ever chooses to do so)” (internal quotation
marks and citation omitted)). It was hotly disputed whether the Court could even enter the SPO
and take prefatory steps toward a sale. See, e.g., id. at *6 (“The parties vehemently disagree with

one another as to when the Court may, or should, adopt a Sale Procedures Order and begin
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implementing it.”). As recently as at the March 30, 2023 hearing, the Court acknowledged the
then-existing uncertainty surrounding OFAC’s position. (D.I. 542 at 121 (“OFAC will tell us its
position or it won’t tell us its position . . . .”))

Then, very recently, the United States provided a new, clear statement regarding its
position toward these proceedings. In a letter to the Special Master dated April 7, 2023, the
United States “convey[ed] that OFAC intends to implement a favorable licensing policy for
license applications in connection with the execution of a sale as contemplated in the Sales Order
or, as applicable, the negotiation of a settlement agreement among the relevant parties.” (D.I.
553 Ex. 1 at 2) In that same letter, the U.S. made clear that it is “not seeking to contest” this
Court’s conclusion that “the existing OFAC ‘sanctions regime does not require a specific license
from OFAC before the Court may adopt a Sales Procedure Order’” and that “a specific license is
not necessary for, and that the current Venezuela sanctions regime does not prohibit, the
Prefatory Steps antecedent to the consummation of the Sales Transaction.” (id. at 1) (quoting
Crystallex, 2022 WL 611586, at *12) Moreover, consistent with its new guidance, the United
States “considers the Court to have resolved this issue [i.e., the impact of the sanctions regime on

the Court’s sales process] as to the parties’ claims.” (/d. y4

> The Court became aware of the letter’s existence and the contents of this letter only in the
Recommendation filed on April 28, 2023.

* On May 4, 2022, pursuant to 28 U.S.C. § 1292(b), the Court certified an interlocutory appeal to
the Third Circuit regarding its interpretation of the sanctions regime. (See, e. g., DI. 463 9 12)
(asking Third Circuit to address “Whether Executive Orders and regulations issued by the U.S.
Treasury Department’s Office of Foreign Assets Control, under which the PDVH Shares are
blocked property, bar the Court from proceeding with steps toward an auction of the PDVH
Shares to satisfy Crystallex’s judgment, provided that no sale of the PDVH Shares will be
permitted to close unless relevant parties obtain specific licenses from OFAC or the Venezuelan
sanctions regime changes so that the PDVH Shares are no longer blocked property”) On July 26,
2022, the Third Circuit denied the petitions for leave to appeal. See Order, Crystallex Int'l Corp.
v. Bolivarian Republic af Venez., No. 22-8024 (3d Cir. July 26, 2022), ECF No. 28.

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On May 1, 2023, OFAC published Frequently Asked Question (“FAQ”) 1123, amended
existing FAQ 808, deleted FAQ 809, and issued a license to this Court’s Clerk of Court,
authorizing the issuance of writs of attachment to any judgment creditor the Court decides to add
as an Additional Judgment Creditor pursuant to the SPO. (See D.I. 555 at 6 (“authorizing the
issuance and service of a writ of attachment fieri facias for any party named an ‘Additional
Judgment Creditor’ by the Court pursuant to the Sale Procedures Order”); D.1. 554 at 1; DI. 582
at 1) Newly issued FAQ 1123 addresses whether “persons [may] participate in or comply with
steps relating to a judicial sale” of “certain shares in PDV Holding” in the Crystallex Action.
(D.I. 554 Ex. 1) OFAC answered that it “will not take enforcement action against any
individuals or entities for participating in, facilitating, or complying with the prefatory steps set
out in the court’s Sale Procedures Order, or for engaging in transactions that are ordinarily
incident and necessary to participating in, facilitating, or complying with such steps (such as
serving as potential or actual credit counterparties).” (/d.) (emphasis added) FAQ 808 was
amended to remove language that a specific license was required for taking possession by,
among other methods, attaching property under the sanctions regime or the “creation or
perfection of any legal or equitable interests (including contingent or inchoate interests) in
blocked property” and to add language that, instead, “creditors may file for writs of attachment
without the need for OFAC authorization for matters involving” blocked property. (/d. Ex. 2)
These all represent profound shifts in the posture of the United States toward the Court’s
proceedings toward a sale.

Nevertheless, the Venezuela Parties assert that there remain such substantial lingering
“uncertainties” that the Court should refrain from moving forward. In taking this position, the

Venezuela Parties rely heavily on what they characterize as their expert’s “unrebutted”
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testimony. (D.I. 640 at 34-35) This expert, Randall Weisenburger, claims that OFAC may
change its enforcement position, and the U.S. Department of Justice may civilly or criminally
charge individuals and institutions who participate in the Court’s sale process, adding that these
uncertainties wiil “significantly chill bidding, resulting in an artificially low sale price.” (D.I.
561 at 2) The Venezuela Parties urge the Court to credit Mr. Weisenburger based on his
“knowledge of and extensive experience with the behavior of private and public companies
contemplating a strategic acquisition.” (/d. at 10)

The Court does not view Mr. Weisenburger’s opinion as unrebutted and is not persuaded
by it. The Special Master, who is assisted by expert advisors, disagrees with Mr. Weisenburger —
and in the context of these proceedings, the Special Master’s input is entitled to at least as much
weight as (and comes with greater credibility than) that of an expert for a long-time recalcitrant
judgment debtor. Mr. Weisenburger’s opinion is based on his experience (see D.I. 561 at 10: see
also D.I. 582 at 6 n.3; D.I. 583 at 8 n.2) — but the Special Master likewise brings a “wealth of
experience” to the table, as the Venezuela Parties themselves advised the Court when they
recommended him as their preferred candidate to assist the Court. (See, e.g., D.I. 256 at 76-77
(counsel for PDVH, CITGO Holding, Inc., and CITGO Petroleum Corp. stating: “I'll discuss Mr.
Pincus because we did bring him to the table initially. Because he really had the experience of
doing exactly what the Court wants the Special Master to do here... . ([H]e has done this. And
he does it with a wealth of experience in how to do a transaction that is complex.”); see also D.I.
244 at | (identifying Mr. Pincus as one of “two nominees jointly from the Republic of
Venezuela, PDVSA, PDVH, CITGO, and ConocoPhillips”); id. at 5-6 (identifying Mr. Pincus as
“uniquely qualified,” “hav[ing] the expertise necessary to. . . oversee(] a value-maximizing

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sale,” “well-versed in large, commercial transactions that involve complicated corporate
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structures and financing,” and having “experience crafting and running multi-million dollar
corporate auctions,” while also emphasizing his “work[} with the petroleum industry”)) The
Court finds, therefore, that Mr. Weisenburger’s testimony is rebutted, and thoroughly and
credibly contradicted, by the views expressed by the Special Master.

Alternatively, even if the Court were not, as it is, (far) more persuaded by the evidence in
favor of the Special Master’s Recommendation (which is also supported by Crystallex and
ConocoPhillips) than it is by the contrary evidence submitted by the Venezuela Parties, the Court
would still overrule the Venezuela Parties’ objections and allow preparation for the Marketing
Process to proceed anyway. As Crystallex pointed out at the June 26, 2023 hearing, a judgment
debtor has no right to demand, or expect, that a Court will delay a sale needed to effectuate its
judgment until market conditions are most favorable to the debtor. (See D.I. 640 at 54) The
Court is completely convinced that the current moment is an auspicious one in which to initiate
the sale process, for all the reasons set out by the Special Master and his advisors, including the
market realities identified by the Special Master. (See D.I. 553 { 28 (“[T]he current three-year
outlook for refining companies is forecasted to significantly exceed the three-year outlook that
was in place as of the August 2021 Report... .”); see also id. { 32 (“[T]oday’s capital markets
are... more than adequate to accommodate a transaction of CITGO’s scale.”); see also id.

{| 28-32) That said, the Court’s decision would be the same — to proceed with the sale process —
even if that were not the case.

Therefore, while there remains uncertainty as to whether OFAC will authorize the
eventual sale of the PDVH shares, and there is always the chance that events will cause the
United States to change its policy, the Court is persuaded that the Special Master should proceed

promptly with the sale process. OFAC currently “intends to implement a favorable licensing
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policy” (D.I. 553 Ex. 1 at 2) and the Court agrees with the Special Master that OFAC, by its
April 7 letter, FAQs, and license issued to this Court, has provided “as clear an indication as
potential Marketing Process participants could have possibly hoped for” (D.1. 583 J 11)
(emphasis added). The Court is also persuaded by the Special Master’s view that
“[s]ophisticated actors will understand that OFAC’s practice is not to deviate from [its public]
pronouncements without an explicit change in policy and accompanying public announcement.”
(/d. 6) Moreover, as Crystallex explains, those actors understand that “OFAC can, and often
does, issue new sanctions and guidance quickly” and are accustomed to accounting for these
risks. (Id. 7; see also D.I. 582 at 3 (Crystallex explaining that OFAC encourages companies to
rely on published OFAC guidance))

In sum, there is far greater certainty now that this process may proceed than there has
been at any prior point in this lengthy litigation. The sale process will proceed.

3. The Venezuela Parties’ second objection also seeks to delay the launch of the sale
process. They assert that, at minimum, the Court should wait to set the Preparation Launch Date
until after other litigation is concluded. (See D.I. 561 at 1 1-15) Specifically, they ask that the
Court refrain from launching the process until after resolution of (i) six other creditors’ appeals
to the Third Circuit and (ii) litigation relating to 2020 Bonds issued by the Republic of
Venezuela, which is pending in the Second Circuit. (See id.) The Venezuela Parties reason that
“[t]he Special Master and his Advisors cannot properly prepare for the sale process — much less
launch it — without knowing which judgments will be part of the process [as Additional
Judgments] and without knowing whether the purported pledge of a majority of the shares of
PDVH’s most valuable subsidiary, CITGO Holding, Inc., will be upheld.” (/d. at 2-3) In

making their arguments, the Venezuela Parties once again rely on the opinion of Mr.
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Weisenburger, particularly his statements that “the Special Master cannot . . . without a clear
resolution of which judgments are included, . .. meaningfully consult” with PDVSA regarding
minority shareholder rights or protections that could minimize the number of shares that must be
sold. (/d. at 12; see also id. at 12-15)

Once more, the Court is not persuaded by the Venezuela Parties. As an initial matter, the
six creditor appeals to the Third Circuit have now been resolved, By opinion dated July 7, 2023,
the Third Circuit affirmed this Court’s determination that PDVSA remained the alter ego of
Venezuela at least up until March 2023. See OJ European Grp. B.V. v. Bolivarian Republic of
Venez., -- F 4th --, 2023 WL 4385930, at *1 (3d Cir. July 7, 2023). This portion of the
Venezuela Parties’ objection is now moot.

While the 2020 Bondholders litigation is ongoing — the Court’s understanding is that the
Second Circuit has certified certain questions of New York law to the New York State Court of
Appeals (see, e.g., D.I. 640 at 32-33; Petrdleos de Venez. S.A. vy. MUFG Union Bank, N.A., No.
20-3858, 51 F.4th 456 (2d Cir. Oct. 13, 2022)) ~ and its resolution could impact the sale process,
the Court will not await its outcome before moving forward. As the Special Master (D.I. 583
4] 8), Crystallex (see D.I. 582 at 6), and ConocoPhillips (see D.I. 584 at 1-2) all point out, the
SPO provides a timeline that ensures the Special Master has certainty about which judgments
will be a part of the sale process by the time he needs to have that information. Specifically, the
SPO provides the Court ten calendar days after the Launch Date to designate Additional
Judgments, (D.I. 481 930) The SPO also contains deadlines for judgment holders to provide
the Special Master with their outstanding judgment amounts (id. 4 32) and a deadline for the

Special Master to calculate the final amount of the Attached Judgments (id. 431). The SPO
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further authorizes the Special Master to consult with the 2020 Bondholders throughout the sale
process. (/d. | 39)

The Special Master continues to express confidence that the schedule set out in the SPO
will give him the best opportunity to conduct a value-maximizing transaction, selling only as
many shares of PDVH as are necessary. (See D.I. 553 4 34) He is advised by Evercore, which
has told him that “Potential Bidders will be fully capable of valuing the PDVH Shares and the
CITGO operations agnostic to capital structure, including whether claims held by the PDVSA
2020 Bondholders or other judgment creditors will need to be satisfied by the Sale Transaction
proceeds,” (D.I. 583 4 10) And as Crystallex credibly explains, “bidders will simply price their
view of the risk associated with currently pending litigation when formulating their bids.” (D.I.
582 at 7)

In short, the SPO anticipated, and adequately addresses, all of the concerns now raised by
the Venezuela Parties. The SPO provides an additional protection for all Sale Process Parties,
including the Venezuela Parties (and for Additional Judgment Creditors, if there are any’): if the
Venezuela Parties’ speculation that bids will be chilled actually materializes, the Special Master
has discretion to reject “inadequate or insufficient” bids as well as bids that do not “provide[] for
a value maximizing sale transaction.” (D.I. 481 99) The Special Master can also “adjourn the
Auction and/or the Sale Hearing.” (/d.) The Special Master can even choose not to select a
Successful Bid (although in that event the Sale Process Parties may move the Court to select a
Successful Bid anyway). (Jd. 413) The Court will also hear and resolve any objections to the

Sale Transaction, including any objection to “the Special Master’s recommendation as to which

* The Court received extensive briefing and has heard lengthy argument on issues including and
relating to whether it should add Additional Judgments to the sale process. The Court intends to
address these issues in a separate order to be issued in due course.

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bid is best and whether the Court should accept or reject such bid.” (/d. J] 16-19) In the end,
the Court “will make the final decision as to whether to accept or reject any bid” (id. { 19) and,
in doing so, will consider any argument that the process has, for whatever reasons, yielded an
unfair result. The Venezuela Parties’ fears, then, do not provide cause to delay the Court’s
launch of the sale process.

Accordingly, the Court is persuaded by the Special Master that he and his advisors can
adequately prepare for the sale without knowing, just yet, the total claim pool. (D.I. 561 4 8-10)
The Court is further persuaded by the Special Master’s insistence that the ongoing 2020
Bondholders’ litigation will be no impediment to his efforts. (See 583 4 10) Hence, at this time,
there is simply no reason to further delay starting the sale process.

IT IS FURTHER ORDERED that the Court directs the sale to proceed on the following

schedule:
Event Date
Preparation Launch Date Monday, July 24, 2023
Launch Date Monday, October 23, 2023
Additional Judgment | Thursday, November 2, 2023
Deadline
Tentative Sale Hearing Date Monday, July 15, 2024

The Court will hold the first of its regular ex parte meetings with the Special Master
sometime before the end of July 2023, at a time and location to be determined. Consistent with
the Court’s May 10 Order (D.I. 559 { 8), the parties will be advised that the meeting has

occurred no later than seven days after its occurrence, by a notice on the Crystallex docket (Misc.

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No. 17-151), which will report on the date and location of the meeting and anything else the
Court directs the Special Master to include. A sealed transcript of this meeting will be prepared

and will remain sealed until further order of the Court.

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LE LEONARD P* STARK
UNITED STATES DISTRICT COURT

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